
PRINGLE, C.
This is an attempted appeal from an order, of the superior court of the city and county of San Francisco, made December 4, 1895, adjudging appellant “guilty of contempt, and that he be confined in the county jail twenty-four hours, and pay to Eli T. Sheppard two hundred and seventy-five dollars on or before December 6, 1895.” The order is not appealable: Ex parte Clancy, 90 Cal. 553, 27 Pac. 411; Cosby v. Superior Court, 110 Cal. 45, 42 Pac. 460. I advise that the appeal be dismissed.
We concur: Haynes, C.; Gray, C.
PER CURIAM.
For the reasons given in the foregoing opinion the appeal is dismissed.
